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                                    No. 6:23-cv-00553

           Chamber of Commerce of the United States of America et al.,
                                  Plaintiffs,
                                      v.
                     National Labor Relations Board et al.,
                                 Defendants.


                                        ORDER

              In this case, plaintiffs seek permanent injunctive relief from an
          agency final rule, Standard for Determining Joint Employer Status,
          88 Fed. Reg. 73,946 (2023). Pending before the court are the parties’
          cross-motions for summary judgment (Docs. 10, 34) and defend-
          ants’ motion to transfer (Doc. 25). The court held a hearing on those
          motions on February 13, 2024.
              The challenged rule currently has an effective date of February
          26, 2024. The court now exercises its authority under 5 U.S.C. § 705
          and stays the effective date of that rule by 14 days. As a result of this
          stay, the new effective date of the rescission of the prior joint-em-
          ployer rule, 85 Fed. Reg. 11,184 (2020), and implementation of the
          new rule is March 11, 2024. An opinion with the court’s reasoning
          will be issued forthwith.

                                  So ordered by the court on February 22, 2024.



                                                J. Campbell Barker
                                                United States District Judge
